231 F.3d 484 (9th Cir. 2000)
    UNITED STATES OF AMERICA, PLAINTIFF-APPELLEE,v.SEALED 1, LETTER OF REQUEST FOR LEGAL ASSISTANCE FROM THE DEPUTY PROSECUTOR GENERAL OF THE RUSSIAN FEDERATION, PURSUANT TO AN AGREEMENT BETWEEN THE GOVERNMENT OF THE UNITED STATES OF AMERICA AND THE GOVERNMENT OF THE RUSSIAN FEDERATION ON COOPERATION IN CRIMINAL LAW MATTERS IN THE CRIMINAL MATTER OF, DEFENDANT-APPELLANT.
    No. 00-35347
    U.S. Court of Appeals, Ninth Circuit
    Argued and Submitted October 3, 2000--Seattle, WashingtonNovember 01, 2000
    
      1
      NOTE: SEE AMENDED OPINION AT 235 F.3d 1200.
    
    